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 8
                       UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON, et al.,                 No. 1:23-cv-03026
12
                               Plaintiffs,        MOTION FOR EXTENSION OF
13                                                TIME
14          v.
                                                  03/30/23
15   FOOD AND DRUG                                WITHOUT ORAL ARGUMENT
16   ADMINISTRATION, et al.,

17                             Defendants.
18

19         Pursuant to Local Rule 7, Defendants respectfully request that this Court
20
     extend Defendants’ time to respond to Plaintiffs’ Motion for a Preliminary
21

22 Injunction by fourteen (14) days, which would result in their response being due on

23 March 24, 2023, instead of March 10, 2023. Counsel for Plaintiffs have informed

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     undersigned counsel that they will oppose this motion.
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     MOTION FOR EXTENSION OF TIME
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 1         Good cause exists to grant Defendants’ extension request. In support of their
 2
     82-page Complaint and 35-page Motion for a Preliminary Injunction, Plaintiffs
 3

 4 submitted voluminous materials. These include over 400 pages of exhibits attached

 5 to their Complaint and nineteen declarations (consisting of over 360 pages) in

 6
     support of their Motion for a Preliminary Injunction. A two-week extension is
 7

 8 necessary to give Defendants sufficient time to carefully review these materials

 9 before responding to Plaintiffs’ Motion for a Preliminary Injunction.

10
           Such careful consideration is particularly important in this case because of
11

12 the extraordinary relief that Plaintiffs request. Plaintiffs ask this Court to enjoin the

13 U.S. Food and Drug Administration from enforcing restrictions that FDA has

14
     determined are necessary to ensure a drug’s safety and effectiveness, and to
15

16 substitute its judgment for FDA’s by concluding that the drug is safe and effective

17 without those restrictions. At a minimum, the Court should ensure that, before

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     ruling on such a request, Defendants have adequate time to review Plaintiffs’
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20 lengthy complaint and motion and hundreds of pages of exhibits and declarations.

21
           Moreover, a two-week extension will cause Plaintiffs no prejudice, as
22
     evidenced by their extreme delay in seeking a preliminary injunction. In their
23

24 Motion, Plaintiffs challenge three aspects of the FDA-approved Risk Evaluation

25
     and Mitigation Strategy (REMS) for mifepristone for medical termination of early
26
     pregnancy. Two of these (the patient agreement form and the provider certification
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     MOTION FOR EXTENSION OF TIME
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 1 form) have been in place for the entire time that mifepristone has been approved

 2
     for this use—more than twenty-two years. The third—a certification requirement
 3

 4 for pharmacies that dispense mifepristone—was approved on January 3, 2023, at

 5 the same time that a more restrictive requirement that mifepristone be dispensed in-

 6
     person in a certified provider’s office was removed. That in-person dispensing
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 8 requirement—which, like the other two requirements being challenged by

 9 Plaintiffs, had been in place since the drug was approved in 2000—prevented any

10
     pharmacy from dispensing mifepristone for termination of early pregnancy. In
11

12 other words, for over two decades, distribution of mifepristone has been subject to

13 a set of requirements at least as extensive as the ones Plaintiffs now challenge.

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             Finally, Plaintiffs have been on notice that the in-person dispensing
15

16 requirement would be replaced by a pharmacy certification requirement since

17 December 16, 2021, when FDA announced publicly that the REMS must be

18
     modified to remove the in-person dispensing requirement and to permit certified
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                                       1
20 pharmacies to dispense mifepristone. Thus, even assuming that Plaintiffs could

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     not have brought their challenge prior to FDA’s approval of the modified REMS on
22

23
         1
24       Questions and Answers on Mifepristone for Medical Termination of
   Pregnancy Through Ten Weeks Gestation, https://www.fda.gov/drugs/postmarket-
25 drug-safety-information-patients-and-providers/questions-and-answers-

26 mifepristone-medical-termination-pregnancy-through-ten-weeks-
   gestation#:~:text=On%20December%2016%2C%202021%2C%20the,in%2Dperso
27 n%20dispensing%20requirement%E2%80%9D (visited February 28, 2023).
   MOTION FOR EXTENSION OF TIME
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 1 January 3, 2023, their delay of nearly two months in seeking relief demonstrates

 2
     that they will not be prejudiced by a two-week extension.
 3

 4         For the foregoing reasons, Defendants request that the Court grant

 5 Defendants a 14-day extension to respond to Plaintiffs’ Motion for Preliminary

 6
     Injunction, making March 24, 2023, Defendants’ new deadline.
 7

 8

 9   February 23, 2023                        HILARY K. PERKINS
10                                            Assistant Director

11                                            /s/ Noah T. Katzen
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     MOTION FOR EXTENSION OF TIME
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 1                                CERTIFICATE OF SERVICE
 2
         I hereby certify that, on February 28, 2023, I electronically filed the foregoing

 3 with the Clerk of the Court using the CM/ECF system, which will send notification

 4
     of such filing to all counsel of record.
 5

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 7                                                  /s/ Noah T. Katzen
 8                                                  NOAH T. KATZEN

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     MOTION FOR EXTENSION OF TIME
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